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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IBEROAMERICANA DE                                   §
    HIDROCARBUROS S.A.                                  §
                                                        §
                           Plaintiff,                   §
                                                        §
    v.                                                  §               Case No. ___________
                                                        §
    EXTERRAN CORPORATION,                               §
    EXTERRAN ENERGY SOLUTIONS, L.P.                     §
    and ANDREW WAY,                                     §
                                                        §
                           Defendants.                  §


                             DEFENDANTS’ NOTICE OF REMOVAL

         Pursuant to 9 U.S.C. § 205, Defendants Exterran Energy Solutions, LP and Exterran

Corporation (“Exterran”) and Andrew Way (together with Exterran, “Defendants”) file this Notice

of Removal of the above-captioned matter.

                                              A. Introduction

         1.      This is the second time in six months that Plaintiff Iberoamericana de

Hidrocarburos S.A. (“IHSA”) filed a Texas state-court lawsuit against Defendants for the sole

purpose of trying to evade an ongoing civil arbitration in Mexico. Defendants removed IHSA’s

previous lawsuit to federal court1 and immediately moved to compel arbitration. IHSA promptly

filed for voluntary dismissal.

         2.      Now, seeking a second bite at the apple, on May 11, 2021, IHSA filed a near-

identical petition against Defendants in the 164th Judicial District Court of Harris County, Texas.




1
 Iberoamericana de Hidrocarburos S.A. v. Exterran Energy Solutions, L.P. et al., C.A. No. 4:21-CV-00329, in the
United States District Court for the Southern District of Texas, Houston Division.


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See Ex. A, IHSA’s Petition.

       3.      Stunningly, IHSA misrepresents to the Court—in italic font—that “Defendants did

not pursue any civil action against IHSA.” See Ex. A, at ¶ 12. This is blatantly false—there is a

pending civil arbitration between the parties. Regardless of what IHSA chooses to represent to

the Court, it cannot escape the fact that it is currently engaged in civil arbitration in Mexico,

pursuant to the very contracts that underpin the allegations in IHSA’s state-court petition. See ICC

case no. 25918/JPA; Exterran Energy de México, S. de R.L. de C.V. v. Iberoamericana de

Hidrocarburos, S.A. de C.V., In the Court of Arbitration of the International Chamber of

Commerce. Indeed, IHSA has asserted counterclaims in the arbitration related to the very same

conduct at issue in the present lawsuit.

       4.      Accordingly, as discussed below, Defendants seek to remove this matter pursuant

to the mandatory arbitration provisions in Exterran’s contracts with IHSA, which are subject to

the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”).

       5.      Defendants remove this action under 9 U.S.C. § 205 because it “relates to” an

arbitration agreement that “falls under” Chapter 2 of the FAA.

                                            B. Parties

       6.      IHSA is a Mexican citizen. See Ex. A, ¶ 1.

       7.      Exterran Corporation has not been properly served with IHSA’s petition. IHSA

alleges that Exterran’s principal place of business is in Harris County, Texas. See Ex. A, ¶ 2.

       8.      Exterran Energy Solutions L.P. has not been properly served with IHSA’s petition.

IHSA alleges that Exterran’s principal place of business is in Harris County, Texas. See id. ¶ 3.

       9.      Mr. Way accepted service of IHSA’s Petition on May 13, 2021. IHSA alleges that

Way resides in Harris County, Texas. See id. at ¶ 4.




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                                     C.      Plaintiff’s Lawsuit

       10.      IHSA alleges that Defendants tortiously interfered with IHSA’s contracts and

prospective contractual relations with PEMEX, the Mexican state-owned petroleum company. Id.

at ¶ 18. IHSA alleges Defendants did so by filing criminal complaints concerning IHSA’s actions

in the Nejo Field. Id. at ¶ 12. To clarify: Exterran Mexico (not a Defendant here) filed criminal

complaints in the aid of arbitration against IHSA to prevent IHSA from misappropriating and

relocating equipment and infrastructure in the Nejo Field that was subject to an ongoing contract

dispute between the parties.       At the time, IHSA owed Exterran Energy Solutions L.P

approximately US$ 22 million under the parties’ contracts related to this equipment, infrastructure,

and related services. The criminal complaints discuss in detail the contracts between the parties

and the fee dispute.

       11.      That fee dispute is the very subject of the civil arbitration ongoing between IHSA

and Exterran before the Court of Arbitration of the International Chamber of Commerce (“ICC”).

The basis for both those fees and the current arbitration encompassing the fee dispute is found in

a series of contracts between IHSA and various Exterran entities:

             a. Agreement between IHSA and Exterran Energy de México, S. de R.L. de C.V.

                related to gas compression services at three collection stations in Mexico, signed

                January 4, 2010 (“2010 Compression Agreement”; attached as Ex. B);

             b. Agreement between IHSA and Exterran Energy de México, S. de R.L. de C.V.

                related to gas conditioning services at the three collection stations in Mexico, signed

                June 16, 2017 (“2017 Conditioning Agreement”; attached as Ex. C);

             c. Amendment to the 2017 Conditioning Agreement, signed December 16, 2019

                (“2019 Amendment”; attached as Ex. D); and




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             d. Agreement between IHSA and Exterran Energy Solutions, L.P. related to the sale

                of one of the collection stations, signed January 15, 2020 (“2020 Agreement”;

                attached as Ex. E) (collectively with the other agreements, the “Agreements”).

Each of the Agreements contains provisions explicitly calling for ICC arbitration in Mexico to

resolve “any dispute” related to the agreements. Ex. B, § 36; Ex. C, § 35, p. 47 (no. 7); Ex. D, p.

11; and Ex. E, § 14.

       12.      Exterran Energy Solutions, LP’s subsidiary, Exterran Energy de México, S. de R.L.

de C.V., filed the ICC arbitration against IHSA on December 19, 2020. Exterran Energy Solutions,

LP is also a party to the arbitration. See Ex. F, Feb. 22, 2021 Amended Request for Arbitration.

       13.      Notably, IHSA has asserted counterclaims in the arbitration related to the alleged

effect the criminal complaints have had on IHSA’s operations. The criminal complaints are

attached hereto as Exhibits G and H.

       14.      Defendants remove this action under 9 U.S.C. § 205 because it “relates to” an

arbitration agreement that “falls under” Chapter 2 of the Federal Arbitration Act (“FAA”). 9

U.S.C. § 205.

                                 D.     This Case in Removable

       15.      The United States is a party to the New York Convention on the Recognition of

Foreign Arbitral Awards (the “Convention”), which was incorporated into federal law by enabling

legislation codified in Chapter 2 of the FAA. 9 U.S.C. §§ 201, et seq. Chapter 2 grants federal

courts both original and removal jurisdiction over cases related to arbitration agreements that fall

under the Convention. See 9 U.S.C. §§ 203, 205.

       16.      Specifically, 9 U.S.C. § 205 provides:

       Where the subject matter of an action or proceeding pending in a State court relates
       to an arbitration agreement or award falling under the Convention, the



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       defendant or the defendants may, at any time before the trial thereof, remove such
       action or proceeding to the district court of the United States for the district and
       division embracing the place where the action or proceeding is pending. The
       procedure for removal of causes otherwise provided by law shall apply, except that
       the ground for removal provided in this section need not appear on the face of the
       complaint but may be shown in the petition for removal. For the purposes of
       Chapter 1 of this title any action or proceeding removed under this section shall be
       deemed to have been brought in the district court to which it is removed.

(emphasis added).

       17.     Removals under 9 U.S.C. § 205 are immune from the general rule construing

statutes strictly against removal because “in these instances, Congress created special removal

rights to channel cases into federal court.” Acosta v. Master Maintenance & Const. Inc., 452 F.3d

373, 377 (5th Cir. 2006) (quoting McDermott Int’l Inc. v. Lloyds Underwriters of London, 944

F.2d 1199, 1207-08 (5th Cir. 1991)). Additionally, the plain language of 9 U.S.C. § 205 provides

for removal on the basis of notice alone, thereby negating the normal requirements for removal

under the well-pled complaint rule. 9 U.S.C. § 205 (stating that “the ground for removal provided

in this section need not appear on the face of the complaint but may be shown in the petition for

removal”); see also Beiser v. Weyler, 284 F.3d 665, 671 (5th Cir. 2002) (noting the same).

       18.     The Fifth Circuit has emphasized that the phrase “relates to” in 9 U.S.C. § 205 is

an exceptionally “low bar” for removal, holding that a plaintiff’s state-court action sufficiently

relates to an arbitration agreement whenever it “could conceivably affect the outcome of the

plaintiff’s case” and that, accordingly, “the district court will have jurisdiction under § 205 over

just about any suit in which a defendant contends that an arbitration clause falling under the

Convention provides a defense.” Id. at 669 (emphasis added). “As long as the defendant’s

assertion is not completely absurd or impossible, it is at least conceivable that the arbitration clause

will impact the disposition of the case.” Id.




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       19.      This standard is satisfied here because the Agreements unequivocally contain

arbitration clauses falling under the Convention. IHSA’s suit not only relates to the Agreements,

it is inextricably intertwined with the ongoing ICC arbitration involving those Agreements.

Furthermore, developing IHSA’s case would necessarily involve discussing the underlying fee

dispute that is tied to the Agreements, and the contractual relationship between the parties in the

Nejo Field. There is no question that, at minimum, the Agreements could “conceivably affect”

IHSA’s case against Defendants.

       20.      To fall under the Convention, an arbitration agreement must involve at least one

non-U.S. citizen and arise out of a “legal relationship, whether contractual or not, which is

considered as commercial.” 9 U.S.C. § 202. The Fifth Circuit has interpreted this provision to

mean that an arbitration agreement falls under the Convention when “(1) there is an agreement in

writing to arbitrate the dispute, (2) the agreement provides for arbitration in the territory of a

Convention signatory, (3) the agreement arises out of a commercial legal relationship, and (4) a

party to the agreement is not an American citizen.” LIM v. OffShore Specialty Fabricators, Inc.,

404 F.3d 898, 903 (5th Cir. 2005).

       21.      The Agreements easily meet this standard:

             a. They are agreements in writing to arbitrate. Ex. B, § 36; Ex. C, § 35, p. 47 (no. 7);

                Ex. D, p. 11; and Ex. E, § 14. They provide for ICC arbitration in Mexico, which

                is a signatory to the Convention.2 Ex. B, § 37; Ex. C, § 35, p. 47 (no. 7); Ex. D,

                p. 11; and Ex. E, § 14.




2
       For a list of signatories to the Convention, see The New York Arbitration Convention on the Recognition and
       Enforcement of Foreign Arbitral Awards, New York, 10 June 1958: Contracting States, NEW YORK
       ARBITRATION CONVENTION, http://www.newyorkconvention.org/countries (last visited Jan. 28, 2021).


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             b. They arise out of a commercial legal relationship because the Agreements are

                contracts between IHSA and Exterran and its subsidiaries related to gas

                conditioning and compression services and the sale of a gas collection station. Ex.

                B, § 3; Ex. C, §§ 3, 4; Ex. D, §§ 2, 3; and Ex. E, § 2.

             c. They involve at least one non-US citizen because each was executed by IHSA, a

                Mexican citizen. Ex. B, § I.1; Ex. C, § I.1 (p.5); Ex. D, § I.A; and Ex. E, § I.A.

       22.      Venue is proper in the United States District Court for the Southern District of

Texas, Houston Division under 9 U.S.C. § 205 because this is the district and division embracing

the place where the action or proceeding is pending.

       23.      The time within which the Defendants are required to file this Notice of Removal

has not yet expired because a trial has not yet commenced in the State Court Action. See 9 U.S.C.

§ 205 (providing that defendants may remove an action “at any time before the trial thereof”).

       24.      Accordingly, removal is proper under 9 U.S.C. § 205.

                             E.      Additional Procedural Matters

       25.      Upon filing this Notice of Removal, Defendants will properly serve IHSA with

written notice of such removal and will file a Notice of Removal in the state court action.

       26.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81, Defendants have attached the

following:

       a.       The docket sheet;

       b.       All executed process in the case;

       b.       All pleadings asserting causes of action;

       c.       All orders signed by the state judge;

       d.       An index of matters being filed;




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e.    A list of all counsel of record, including addresses, telephone numbers and parties

      represented.

                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of June, 2021, a true and correct copy of the foregoing
has been forwarded via the CM/ECF system to all counsel of record as follows:


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                                                     /s/ Craig Miles




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